                      Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 1 of 8


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          15     (formerly known as Facebook, Inc.)
          16

          17

          18                                  UNITED STATES DISTRICT COURT

          19                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

          20                                      SAN FRANCISCO DIVISION

          21

          22                                                    )
                 MIKHAIL GERSHZON, on behalf of himself         )   Case No. 3:23-cv-00083-SI
          23     and all others similarly situated,             )
                                                                )   DEFENDANT META PLATFORMS, INC.’S
          24                         Plaintiff,                 )   REPLY IN SUPPORT OF ITS REQUEST
                                                                )   FOR JUDICIAL NOTICE IN SUPPORT OF
          25           v.                                       )   ITS MOTION TO DISMISS
                                                                )
          26     META PLATFORMS, INC.                           )   Action Filed: January 6, 2023
                                                                )
          27                         Defendant.                 )   Date: June 9, 2023
                                                                )   Time: 10:00 AM
          28                                                    )   Courtroom: 1
                                                                    Before: Hon. Susan Illston
Gibson, Dunn &
Crutcher LLP
                                      REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                   CASE NO. 3:23-CV-00083-SI
              Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 2 of 8


1             Plaintiff opposes Meta’s Request for Judicial Notice, claiming that Meta seeks to “establish
2    disputed facts” without satisfying the standards for judicial notice or the incorporation by reference
3    doctrine. RJN Opp. at 1. But the publicly available online materials Meta submitted do not raise any
4    disputes of fact, and ample caselaw allows documents just like these to be considered on a motion to
5    dismiss. Plaintiff’s sweeping opposition does not identify a valid or reasonable basis for why the Court
6    cannot consider these documents, and this Court should grant Meta’s Request for Judicial Notice. 1   0F




7    A.       The Exhibits Are Subject to Judicial Notice.
8             Under Federal Rule of Evidence 201, a court can take judicial notice of certain facts “if a party
9    requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c). Rule 201
10   allows a court to take judicial notice of facts that are “not subject to reasonable dispute because . . .
11   [they] can be accurately and readily determined from sources whose accuracy cannot reasonably be
12   questioned.” Fed. R. Evid. 201(b)(2). Materials and information found on public websites (including
13   terms of service) are regularly subject to judicial notice. See, e.g., Daniels-Hall v. Nat’l Educ. Ass’n,
14   629 F.3d 992, 998–99 (9th Cir. 2010); Threshold Enters. Ltd. v. Pressed Juicery, Inc., 445 F. Supp. 3d
15   139, 146 (N.D. Cal. 2020); In re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d 809, 829–31 (N.D. Cal.
16   2019); Shaw v. Gera, 2019 WL 4933636, at *2 (N.D. Cal. Oct. 7, 2019); In re Eventbrite, Inc. Sec.
17   Litig., 2020 WL 2042078, at *7 (N.D. Cal. Apr. 28, 2020). Plaintiff’s scattershot opposition to Meta’s
18   exhibits—all of which are found on public websites—fails to demonstrate that these exhibits are not
19   subject to judicial notice.
20            Plaintiff’s bald assertion that the accuracy of the documents on Meta’s website “can reasonably
21   be questioned,” RJN Opp. at 2, lacks merit. To begin, courts take judicial notice of Meta’s policies,
22   including when such notice is contested. See, e.g., In re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d at
23   829.     According to plaintiff, because the documents could have changed over time, they may
24   theoretically “not reflect the evidence relevant to the actual claims asserted.” RJN Opp. at 2. If that
25   were enough, courts would never take judicial notice of websites. And notably, plaintiff has not shown
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         Plaintiff’s Opposition to Meta’s Request for Judicial Notice blends his arguments as to why judicial
28       notice is improper with his argument about why the motion to dismiss should not be granted based
         on the Exhibits. This reply is limited to addressing why judicial notice is proper.
                                                          -1-
                              REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                           CASE NO. 3:23-CV-00083-SI
            Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 3 of 8


1    that any of these exhibits are inaccurate copies of the webpages, that the statements in these webpages
2    are not in the public domain, or that the documents are in Meta’s “sole possession.” In re Tesla, Inc.
3    Sec. Litig., 477 F. Supp. 3d 903, 919–20 (N.D. Cal. 2020). Moreover, each iteration of Meta’s policies
4    is publicly available in an online archive and, in any event, the relevant provisions of each policy stayed
5    materially the same over time. 2
                                    1F




6           Plaintiff also challenges all of the exhibits on the grounds that they are not properly admissible,
7    pointing to a single non-California district court decision that did not concern websites. See RJN Opp.
8    at 2. Meta submitted the exhibits with a declaration that states the web address where the exhibits
9    could be found and that they are “true and correct copies of the website pages.” Crouch v. Ruby Corp.,
10   --- F. Supp. 3d ----, 2022 WL 16747282, at *2 (S.D. Cal. 2022) (granting request for judicial notice).
11   That is enough. See, e.g., Nevarez v. Canyon Lakes Golf Course & Brewery, 2017 WL 5479649, at *3
12   (N.D. Cal. Nov. 5, 2017) (granting judicial notice of webpages over authenticity challenged where the
13   declaration noted the web address); Manzano v. S. Indian Health Council, Inc., 2021 WL 2826072, at
14   *3 (S.D. Cal. July 7, 2021) (overruling authentication challenge where declaration stated the exhibit
15   was “a true and correct copy”); Peccia v. Dep’t of Corrections & Rehabilitation, 2021 WL 3563489,
16   at *4 (E.D. Cal. Aug. 12, 2021) (same).
17          Moreover, Meta is not seeking judicial notice in order to prove what plaintiff “would have
18   viewed” at any given time. RJN Opp. at 2; see id. at 3. Whether plaintiff actually viewed any of the
19   documents is beside the point: Federal Rule of Evidence 201(b) permits a court to judicially notice
20   facts that can be accurately and readily determined from sources whose accuracy cannot reasonably be
21   questioned. In other words, whether a source is judicially noticeable depends on its reliability and
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         https://www.facebook.com/privacy/policy?show_versions=1                   (Privacy            Policy);
24       https://web.archive.org/web/20230000000000*/https://www.facebook.com/legal/terms (Terms of
         Service);
25       https://web.archive.org/web/20230000000000*/https://www.facebook.com/privacy/policies/cooki
         es                                         (Cookies                                           Policy);
26       https://web.archive.org/web/20230000000000*/https://www.facebook.com/legal/commercial_ter
         ms                                       (Commercial                                          Terms);
27       https://web.archive.org/web/20230000000000*/https://www.facebook.com/legal/terms/businessto
         ols (Business Tools Terms). “[D]istrict courts in this circuit have routinely taken judicial notice of
28       contents from the Internet Archive’s Wayback Machine.” Parziale v. HP, Inc., 2020 WL 5798274,
         at *3 (N.D. Cal. Sept. 29, 2020) (citing cases).
                                                        -2-
                             REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                          CASE NO. 3:23-CV-00083-SI
             Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 4 of 8


1    relevance, not whether plaintiff claims to have seen or relied on it. See Parziale, 2020 WL 5798274,
2    at *3 (“The Court finds the [webpage at issue] to be relevant and inherently reliable, and therefore takes
3    judicial notice of [it].”). Similarly, Meta requests judicial notice of the various websites for the purpose
4    of establishing what was in the public realm. See, e.g., Von Saher v. Norton Simon Museum of Art at
5    Pasadena, 592 F.3d 954, 960 (9th Cir. 2010); United States ex rel. Hong v. Newport Sensors, Inc., 728
6    F. App’x 660, 661 (9th Cir. 2018) (affirming judicial notice of the fact that seven documents located
7    on UC Irvine’s faculty website were “publicly available”).
8            Plaintiff also challenges the exhibits on the grounds that they are used to purportedly establish
9    facts in dispute and the meaning of the policies are in dispute. See RJN Opp. at 2–3. But plaintiff’s
10   objection doesn’t address the fact of the existence of Meta’s publicly-available policies nor does this
11   objection address what these policies say on their face. Moreover, plaintiff points to no well-pled
12   allegations that purport to conflict with the exhibits and therefore plaintiff’s unsupported notion that
13   the exhibits somehow contain “disputed facts” is baseless. 3 Khoja v. Orexigen Therapeutics, Inc., 899
14   F.3d 988, 999 (9th Cir. 2018); see In re Tesla, 477 F. Supp. 3d at 919. Rather, the exhibits are useful
15   “to provide context for the allegations.” Kang v. PayPal Holdings, Inc., 620 F. Supp. 3d 884, 896
16   (N.D. Cal. 2022).
17   B.      Exhibits 2, 3, 7, 8, and 9 are Subject to the Incorporation by Reference Doctrine.
18           Under the incorporation by reference doctrine, a district court may, when ruling on a motion to
19   dismiss, consider documents outside the complaint when “the plaintiff’s claim depends on the contents
20   of a document, the defendant attaches the document to its motion to dismiss, and the parties do not
21   dispute the authenticity of the document, even though the plaintiff does not explicitly allege the
22   contents of that document in the complaint.” Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).
23   “The doctrine prevents plaintiffs from selecting only portions of documents that support their claims,
24   while omitting portions of those very documents that weaken—or doom—their claims.” Khoja, 899
25   F.3d at 1002. Under that doctrine, Exhibits 2 (Meta’s Privacy Policy), 3 (Meta’s Cookies Policy), and
26

27   3
          In any event, the Ninth Circuit has clarified that if a court takes judicial notice of a document, “it
          must specify what facts it judicially noticed from the document.” Rutter v. Apple Inc., 2022 WL
28        1443336, at *2 (N.D. Cal. May 6, 2022) (citing Khoja, 899 F.3d at 999). Therefore, the court can
          clarify what specific facts it is judicially noticing, as opposed to rejecting judicial notice outright.
                                                            -3-
                               REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                            CASE NO. 3:23-CV-00083-SI
             Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 5 of 8


1    7–9 (Meta blog posts) should be deemed incorporated by reference. Repeating many of his judicial
2    notice arguments, plaintiff claims incorporation by reference is improper. These arguments again fall
3    flat.
4            Relying on a mischaracterization of Khoja, plaintiff claims that these documents do not provide
5    the basis for his claims and accuses Meta of using these documents to construct counter narratives and
6    “defenses to Plaintiff’s claims.” RJN Opp. at 4. But Khoja actually supports Meta’s requests, as it is
7    plaintiff who attempts to craft a counter narrative based on mischaracterization of documents he now
8    seeks to hide from the Court’s consideration. As Khoja makes clear, the doctrine of incorporation by
9    reference is designed to “prevent[] plaintiffs from selecting only portions of documents that support
10   their claims, while omitting portions of those very documents that weaken—or doom—their claims.”
11   899 F.3d at 1002–03; see also Knievel, 393 F.3d at 1076 (“Just as a reader must absorb a printed
12   statement in the context of the media in which it appears, a computer user necessarily views web pages
13   in the context of the links through which the user accessed those pages.”). Incorporation by reference
14   is warranted here for those exact reasons, as plaintiff alleges that users are not advised about Meta’s
15   collection of their personal information, Meta does not have their consent, and Meta knowingly
16   obtained such information without authorization, yet also cites to Meta’s Privacy Policy and Cookies
17   Policy. See, e.g., Compl. ¶¶ 31, 54, 62.
18           Despite plaintiff’s insistence that Meta did not have his consent to receive information via the
19   Pixel, Meta’s policies—specifically its Privacy Policy—lays out Meta’s practice and plaintiff’s consent
20   to that practice. Similarly, plaintiff’s insistence that Meta obtained his information intentionally, is
21   belied by Meta’s policies and posts that make clear it only wants to receive information it has
22   permission to receive. To credit plaintiff’s allegations yet wholly ignore the context from Meta’s cited
23   documents would undermine the very purpose of the incorporation by reference doctrine. And
24   plaintiff’s claim that Meta’s Privacy Policy and Cookies Policy (Exhibits 2 and 3) are “of limited . . .
25   relevance,” RJN Opp. at 3, is particularly “unlikely” as plaintiff quotes from those exhibits in her
26   complaint. Yoon v. Lululemon USA, Inc., 549 F. Supp. 3d 1073, 1079 (C.D. Cal. 2021); see Compl.
27   ¶¶ 21, 23.
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                                                       -4-
                             REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                          CASE NO. 3:23-CV-00083-SI
            Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 6 of 8


1            Plaintiff also repeats his argument that the documents somehow are not authentic. RJN Opp.
2    at 4. As explained above, the authentication argument falls flat.
3            Plaintiff’s final contention is that most of Meta’s authorities in its request for judicial notice are
4    deficient. RJN Opp. at 5. First, that some of these decisions pre-date Khoja has no bearing on their
5    validity, as nothing in Khoja undermines the fundamental premise that courts may take judicial notice
6    of websites or otherwise undermines Meta’s arguments. Ample post-Khoja authority supports Meta’s
7    positions, as Meta’s request and reply make clear. See, e.g., Threshold Enters., 445 F. Supp. 3d at 146;
8    In re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d at 829–31; Shaw, 2019 WL 4933636, at *2; In re
9    Eventbrite, Inc. Sec. Litig., 2020 WL 2042078, at *7. Second, plaintiff notes that two of Meta’s cited
10   cases were not decided at the motion to dismiss stage, even though the standard for judicial notice does
11   not vary based on the particular procedural posture. Compare Threshold Enters., 445 F. Supp. 3d at
12   145–46, with Singanonh v. Langslet, 2020 WL 7239586, at *2 (E.D. Cal. Dec. 9, 2020). Third, plaintiff
13   claims that the parties in several of the cited cases did not contest the document’s authenticity (for
14   judicial notice) or did not dispute that the document formed the basis of plaintiff’s claims (for
15   incorporation by reference). But as explained above, plaintiff’s arguments contesting the exhibits
16   based on their authenticity or that they form the basis of his claims fail, and therefore plaintiff’s attempt
17   to distinguish these cases falls short.
18                                                CONCLUSION
19           Under the incorporation by reference doctrine and Federal Rule of Evidence 201, and for the
20   reasons stated above and in Meta’s request for judicial notice, the Court should consider Exhibits 1
21   through 9 to the Barrera Declaration (ECF No. 31-2) when ruling on Meta’s motion to dismiss.
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                              REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                           CASE NO. 3:23-CV-00083-SI
           Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 7 of 8


1    Dated: May 19, 2023                               GIBSON, DUNN & CRUTCHER LLP
2                                                      By:    /s/ Lauren R. Goldman
                                                              Lauren R. Goldman
3
                                                       COOLEY LLP
4
                                                       By:    /s/ Michael G. Rhodes
5                                                             Michael G. Rhodes
6                                                      Attorneys for Meta Platforms, Inc.
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                           REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                        CASE NO. 3:23-CV-00083-SI
            Case 3:23-cv-00083-SI Document 63-1 Filed 05/19/23 Page 8 of 8


1                                  CIVIL L.R. 5-1(h)(3) ATTESTATION
2           Pursuant to Civil Local Rule 5-1(h)(3), I, Lauren R. Goldman, hereby attest under penalty of
3    perjury that concurrence in the filing of this document has been obtained from all signatories.
4

5    Dated: May 19, 2023                          GIBSON, DUNN & CRUTCHER LLP
6                                                 By: /s/ Lauren R. Goldman
                                                      Lauren R. Goldman
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                             REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                          CASE NO. 3:23-CV-00083-SI
